   Case 2:07-md-01873-KDE-MBN Document 14484 Filed 06/23/10 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                       MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                    SECTION “N-5"

                                                                        JUDGE ENGELHARDT

                                                                        MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Deborah J. Smith, et al v Frontier RV, Inc., et al.,
Case No. 2:10-cv-1355
______________________________________________________________________________

  PLAINTIFFS’ UNOPPOSED SECOND MOTION TO EXTEND TIME TO PERFECT
                          SERVICE ON DEFENDANTS
______________________________________________________________________________

       COME NOW PLAINTIFFS, through undersigned counsel and respectfully request

additional time within which to perfect service on all Defendants. In support thereof, Plaintiffs

show the following:

       1.      The Complaint was originally filed in the Southern District of Mississippi on

December 23, 2009 (Case No. 1:09-cv-823).

       2.      Plaintiffs have been unable to serve the Defendants to date because Plaintiff

Deborah Meyer and her household have been unable to identify their contractor and pursuant to

Pretrial Order 55, summons could not be issued. Plaintiffs have undertaken the following efforts

to identify their contractor: submitted their information to FEMA for matching (FEMA’s

response only identified their manufacturer) and submitted a request for Plaintiffs’ IA File (said

IA File likewise failed to identify the contractor). Plaintiffs now intend to submit Ms. Meyer’s

household to the Last Chance Matching Process. David Kurtz, liaison counsel for the Contractor

Defendants, Henry Miller, counsel for the United States Department of Justice, and Randall
    Case 2:07-md-01873-KDE-MBN Document 14484 Filed 06/23/10 Page 2 of 3




Mulcahy, counsel for Frontier, have stated that they do not oppose Plaintiffs’ motion.

       WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court

to extend the deadline until August 2nd, 2010, to insure that service is perfected on all parties.

       Respectfully submitted this the 23 day of June, 2010.

                                                       By:            s / Rose M. Hurder
                                                                      Rose M. Hurder

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    Case 2:07-md-01873-KDE-MBN Document 14484 Filed 06/23/10 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.



                                                                      s / Rose M. Hurder
                                                                      ROSE M. HURDER
